Appellate Case: 24-1209    Document: 47   Date Filed: 09/27/2024   Page: 1



                           Case No. 24-1209


           UNITED STATES COURT OF APPEALS
               FOR THE TENTH CIRCUIT


NATIONAL ASSOCIATION FOR GUN RIGHTS, CHRISTOPHER
JAMES HIESTAND RICHARDSON, MAX EDWIN SCHLOSSER,
   JOHN MARK HOWARD, and ROCKY MOUNTAIN GUN
                    OWNERS

                          Plaintiffs-Appellants,

                                    v.

JARED POLIS, in his official capacity as Governor of the State of
                           Colorado,

                          Defendant-Appellee.

  ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
     DISTRICT OF COLORADO, CASE NO. 24-CV-00001-GPG-STV,
        THE HONORABLE JUDGE GORDON P. GALLAGHER

                 APPELLANTS’ REPLY BRIEF


BARRY K. ARRINGTON
ARRINGTON LAW FIRM
4195 WADSWORTH BOULEVARD
WHEAT RIDGE, COLORADO 80033
(303) 205-7870
E-mail: barry@arringtonpc.com
Attorney for Plaintiffs-Appellants

                     Oral Argument Requested
     Appellate Case: 24-1209            Document: 47          Date Filed: 09/27/2024          Page: 2



                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES ...................................................................iv

I. The State Posits That its Regulation Promotes
   Important Governmental Interests ................................................... 1

II. Plaintiffs Challenge the Statute as Applied and Facially ................ 2

III. The Whole Point of The Manufacturing Ban Was
     to Prohibit Exactly the Conduct in Which Plaintiffs
     Desire to Engage.............................................................................. 4

       A. Introduction ............................................................................... 4

       B. Plaintiffs Did Not Argue that the Statute Prohibits
          Assembly of Parts into a Firearm .............................................. 5

       C. The Prime Sponsor Said Unambiguously That the
          Purpose of the Statute is to Prohibit Plaintiffs
          Proposed Conduct ....................................................................... 7

       D. The Definition of Unfinished Frame Contemplates
          Further “Manufacturing” by Gun Builders ............................ 10

       E. The “Marketing” Provision of the Definition Applies
          to Kits With 80 Percent Frames.............................................. 12

       F. The State’s Model Airplane Analogy Fails .............................. 12

       G. The State’s Legislative History Analysis is Misguided .......... 14

IV. Plaintiffs Are Not Arguing “Against Their Interests” ................... 16

V. The State’s Amici Did Not Get the Memo ....................................... 17

VI. Plaintiffs’ Claims Are Ripe ............................................................. 18

VII. The State “Over-Describes” the Asserted Constitutional
     Wrong............................................................................................. 19

VIII. The State’s Attempts to Distinguish Plaintiffs’ Authorities
      Fails ............................................................................................. 21

                                                      i
     Appellate Case: 24-1209          Document: 47         Date Filed: 09/27/2024         Page: 3



IX. The Statute is Not Presumptively Lawful ..................................... 23

      A. The Statute is Not Exempt from Constitutional Review ......... 23

      B. Plaintiffs Are Not Engaged in Commercial Sales .................... 25

X. The State’s Historical Analysis is Meritless ................................... 26

     A. Introduction ............................................................................... 26

     B. The Existence (Not the Extent) of Private Gun Making
        in the Founding Era is the Relevant Inquiry ........................... 27

      C. The State Points to Zero Founding Era Analogues ................. 29

XI. The State Has No Response to Plaintiffs’ Abusive
    Licensing Argument ....................................................................... 33

XII. The Remaining Factors Favor Plaintiffs ...................................... 34

XIII. Conclusion.................................................................................... 35

Privacy Redaction Certification ............................................................ 35

Paper Copy Certification ....................................................................... 35

Virus Scan Certification ........................................................................ 35

CERTIFICATE OF SERVICE............................................................... 36

WORD COUNT AND TYPEFACE ....................................................... 37




                                                   ii
     Appellate Case: 24-1209          Document: 47         Date Filed: 09/27/2024        Page: 4



                              TABLE OF AUTHORITIES

                                                                                                  Page(s)

Cases

B & L Prods., Inc. v. Newsom, 104 F.4th 108 (9th Cir. 2024) ............... 22

Essentia Ins. Co. v. Hughes, 2024 CO 17, 545 P.3d 494 ........................ 9

Ezell v. City of Chicago, 651 F.3d 684 (7th Cir. 2011) ........................... 22

Jackson v. City & Cnty. of San Francisco, 746 F.3d 953
  (9th Cir. 2014).................................................................................... 20

New York State Rifle & Pistol Ass’n, Inc. v. Bruen,
  597 U.S. 1 (2022) ............................................ 1, 4, 19, 21, 23-30, 32-33

Rhode v. Bonta, 2024 WL 374901 (S.D. Cal. Jan. 30, 2024) ................. 19

Rigby v. Jennings, 630 F. Supp. 3d 602 (D. Del. 2022) ..................... 20-21

Teixeira v. Cnty. of Alameda, 873 F.3d 670 (9th Cir. 2017) .............. 22-23

United States v. Alston, 2023 WL 4758734
  (E.D.N.C., Jul. 28., 2023) .................................................................. 22

United States v. McCane, 573 F.3d 1037 (10th Cir. 2009) .................... 23

United States v. Morgan, 2024 WL 3890184
  (D. Kan. Aug. 21, 2024) ..................................................................... 24

United States v. Rahimi, 144 S. Ct. 1889 (2024) .....................2, 23-25, 33

United States v. Smith, 2024 WL 4138621
  (N.D. Okla. Sept. 10, 2024) ............................................................... 24

VanDerStok v. Garland, 86 F.4th 179, 185 (5th Cir. 2023),
  cert. granted, 144 S. Ct. 1390 (2024) ............................................. 3, 18

                                                  iii
     Appellate Case: 24-1209         Document: 47       Date Filed: 09/27/2024        Page: 5




Vincent v. Garland, 80 F.4th 1197 (10th Cir. 2023) .............................. 24

Statutes

18 U.S.C. § 921(a)(3)(A)–(B) ................................................................... 6

C.R.S. § 18-12-111.5 (SB 23-279; the Statute) .. 1. 2, 4, 5, 7, 9, 11, 14, 16,
17, 21-23, 25, 28, 29, 30, 35

C.R.S. § 18-12-111.5(1) – (4) (the “Serialization Provisions”) .. 2, 3, 5, 15,
19, 21, 25, 29, 30

C.R.S. § 18-12-111.5(5) (the “Manufacturing Ban”) .. 2-7, 9-14, 16-18, 20,
25, 26, 30,33, 34

Gun Control Act of 1968, 18 U.S.C.A. § 921, et seq. ...................... 6, 8, 13

Other Authorities

ATF, Are “80%” or “Unfinished” Receivers Illegal?................................ 10




                                                iv
    Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 6



I.       The State Posits That its Regulation Promotes
         Important Governmental Interests

         SB 23-279 is like every other unconstitutional law that was

ever enacted – the government that enacted it thinks it is a good

idea. Therefore, the State devotes much of its Response to policy

arguments in favor of the Statute. See Resp. 1, 4, 5, 6, 7, 23, 49, 60,

61.1 Fortunately for American citizens, the fact that their

government believes it has good reasons to infringe on their liberty

has no bearing on the constitutional analysis. “To justify its

regulation, the government may not simply posit that the

regulation promotes an important interest. Rather, the government

must demonstrate that the regulation is consistent with this

Nation’s historical tradition of firearm regulation.” New York State

Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 17 (2022). Colorado

has not demonstrated that its law is consistent with the nation’s

history and tradition of firearm regulation. Indeed, as discussed


The State’s amici also advance policy arguments in favor of the
1

Statute. See Brief of District of Columbia, et al. (ECR 37); “States
Brief”), 9-16; and brief of Brady Center to Prevent Gun Violence, et
al. (ECF 40; “Lobbyist Brief”), 14-29. The amici’s policy arguments
are equally irrelevant.



                                       1
    Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 7



extensively in the Opening Brief,2 its own expert testified that the

evidence is overwhelmingly to the contrary. Therefore, regardless

of the merits (or lack thereof) of the State’s policy arguments, the

law is unconstitutional and should be enjoined.

II.      Plaintiffs Challenge the Statute as Applied and
         Facially

         The State implies that Plaintiffs have brought only a facial

challenge to the Statute3 and cites the Supreme Court’s discussion

of such challenges in United States v. Rahimi, 144 S. Ct. 1889

(2024). The State is wrong. Plaintiffs brought both as applied and

facial challenges. App. Vol. I, 17.

         This distinction is important. Subsections 111.5(1) – (4) (the

“Serialization Provisions”) ban the possession, sale, purchase,

transfer or transport of unserialized unfinished frames, finished

frames and firearms. Subsection 111.5(5) (the “Manufacturing

Ban”) prohibits making firearm frames and receivers whether or

not the maker intends to serialize the frame or receiver. Federally


2 Op. Br. 49-56.
3 The State cites App. Vol. 1 at 39. It is unclear how this part of the

record supports the State’s assertion that Plaintiffs have brought
only a facial challenge.


                                       2
Appellate Case: 24-1209    Document: 47   Date Filed: 09/27/2024   Page: 8



licensed   firearms       manufacturers     are    exempt      from    the

Manufacturing Ban.

     Plaintiffs take no position regarding whether requiring

commercial sellers of frames and firearms to serialize their

products is a valid regulation of commercial sales. But as applied to

Plaintiffs, the Serialization Provisions are certainly not valid

regulations of commercial sales because Plaintiffs made (and desire

to continue making) privately made firearms for their personal use.

Their PMFs will not be sold or otherwise transferred to anyone.

Therefore, the State cannot justify its regulation by pretending

Plaintiffs are engaged in commercial sales.

     The Manufacturing Ban is not limited to do-it-yourself

makers of PMFs. It applies to all gun builders – from a lone do-it-

yourself hobbyist in his garage to massive companies like Smith &

Wesson with thousands of employees and hundreds of millions of

dollars in revenue. To be sure, Smith & Wesson has obviously long

been a federally licensed firearms manufacturer and is thus exempt

from the ban. But the issue to be determined here is whether the

State may constitutionally impose the same burdensome licensing



                                    3
 Appellate Case: 24-1209    Document: 47   Date Filed: 09/27/2024   Page: 9



requirements on an individual as it imposes on massive companies.

In other words, as applied to Plaintiffs, the Manufacturing Ban

makes a lone individual go through the same arduous, expensive,

and time-consuming licensing process as Smith & Wesson. Such

abusive licensing requirements are unconstitutional under Bruen.

See 597 U.S. at 39, n. 9.

III. The Whole Point of The Manufacturing Ban Was to
     Prohibit Exactly the Conduct in Which Plaintiffs
     Desire to Engage

      A.    Introduction

      The district court correctly held that “Section 18-12-

111.5(5)(a)(I)-(b)(I) prohibits a person who is not a federally

licensed firearm manufacturer from manufacturing . . . a frame.”

Sp. App. 1, pg. 21, n. 18. But the district court erred when it held

that Subsection 111.5(5) does not prohibit manufacturing frames

from unfinished “80 percent frames” such as those Plaintiffs

purchased from Polymer80. See Id. The court’s misreading of the

Manufacturing Ban led it to hold that Plaintiffs do not have

standing to seek injunctive relief because the Statute does not




                                     4
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 10



prohibit their intended conduct of making frames from unfinished

80 percent frames.

     B.     Plaintiffs Did Not Argue that the Statute
            Prohibits Assembly of Parts into a Firearm

     The State attempts to defend the district court’s error.

Resp. 19-26. That attempt fails. The State mainly defends by

conflating the “assembly” of multiple parts into a completed firearm

with “manufacturing” a single part (i.e., a frame). In response,

Plaintiffs will start with a point of agreement. The State correctly

states the way the various subsections of the Statute work together:

  [The Serialization Provisions] thus prohibit possessing or
  selling unserialized frames or receivers, whether finished or
  unfinished, and unserialized firearms. . . [The Manufacturing
  Ban] cuts off another means to acquiring unserialized
  firearms without a background check – self-manufacture . . .

Resp. 23.

     The State then goes off the rails when it writes:

  Under [Plaintiffs’] view, the statute allows people to possess
  serialized frames or receivers (Colo. Rev. Stat. § 18-12-
  111.5(1)(a), (3)(a)), but prohibits them from assembling the
  frames or receivers into a completed firearm.

Id. (emphasis added).




                                   5
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 11



     The State misconstrues Plaintiffs’ argument. Subsection

111.5(5) does not prohibit the mere assembly of various parts into a

complete firearm, and Plaintiffs never argued that it does. Rather,

Subsection 111.5(5) prohibits “manufactur[ing] . . . a frame or

receiver . . .” In other words, the subsection prohibits making a

particular piece of a firearm.4 It does not prohibit assembling

multiple pre-made pieces into a firearm. The prohibition on making

frames plainly includes making a frame from an unfinished 80

percent frame. Indeed, that is the main purpose of the provision as

discussed in the next section.5




4This is true whether or not the frame is subsequently serialized.
In other words, the Manufacturing Ban prohibits making frames
period full stop. The district understood that this is Plaintiffs’
view. Sp. App. 1, pg. 20, n. 18. It is difficult to understand why the
State would suggest Plaintiffs have a different view.
5The Manufacturing Ban prohibits making a firearm (as opposed

to merely a frame of a firearm) in the sense that it prohibits
making the most essential component of a firearm. Indeed, the
Gun Control Act defines a frame as a firearm (18 U.S.C. §
921(a)(3)(A)–(B)), even though a frame, standing alone, is not a
functional firearm.




                                   6
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 12



     C.     The Prime Sponsor Said Unambiguously That the
            Purpose of the Statute is to Prohibit Plaintiffs
            Proposed Conduct

     The State admits that the Manufacturing Ban prohibits

manufacturing frames using methods other than 3-D printing.

Resp. 21, n. 4. What other methods of making frames are

prohibited? One need only consult the prime sponsor of SB23-279

to know that one of the prohibited methods (indeed, the main

method she had in view) was making frames from 80 percent

frames included in kits acquired on the internet.

  Senator Fields was the prime Senate sponsor of SB23-279. She

stated:

  This bill is about regulating those who want to make their
  own guns. They have these do-your-own kits that you can buy
  online or you can go to a store, and you can buy a unserialized,
  untraceable kit to make a full functioning gun . . .

  So if you are a criminal . . . then go buy a kit . . . and you can
  create an assault weapon just like an AR-15 . . .

  In under two hours, with a hammer and a screwdriver, you
  can make your own gun.

Statement of Senator Fields, Colorado Senate, Second Reading of

SB 23-279, April 27, 2023 (time 5:05:35 to 5:06:04; 5:07:11 to

5:07:35;     and      5:08:35     to     5:08:46),       available      at


                                   7
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 13



https://archive.org/details/colorado-senate-2023-legislative-day-

109-pt-1and-2 (last accessed September 21, 2024) (emphasis

added).

     When Senator Fields referred to making guns from kits

purchased online, she was obviously referring to kits like those

Polymer80 sold to Plaintiffs, which included an unfinished 80

percent frame. This is obvious because the Gun Control Act defines

a finished frame as a firearm. See discussion at Op.Br. 4-7. Thus,

the online kits to which Senator Fields was referring did not contain

finished frames and other parts that merely need to be assembled

into a completed firearm. We know this because if the kits

contained finished frames, under federal law the seller would have

been required to serialize them and obtain a background check

prior to selling them. The State’s expert is correct about this matter

when he writes that under the Gun Control Act, partially finished

frames are not legally regarded as firearms, and sellers of online

kits included unfinished frames in the kits to comply with federal

law. Declaration of Brian Delay, App. Vol. I, 79-80.




                                   8
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 14



      The State says that the Manufacturing Ban applies only to

making frames from “raw materials.” Resp. 20. That would surprise

Senator Fields, who said that the bill is about regulating those who

want to make guns from kits purchased online. People make guns

from those kits by completing the unfinished frames that come in

the kits.

      The obvious purpose of the Manufacturing Ban is to prohibit

people from making guns from kits without a background check.

The State’s interpretation undermines that purpose by limiting the

application of the statute only to making frames from “raw

materials,” as if the General Assembly were worried about the

unregulated manufacture of frames by companies with the

industrial capacity to make frames from raw steel. This

interpretation must be rejected. See Essentia Ins. Co. v. Hughes,

2024 CO 17, ¶ 33, 545 P.3d 494, 501 (statute must be construed in

the context of the legislature’s purpose in enacting the statute).




                                   9
Appellate Case: 24-1209    Document: 47    Date Filed: 09/27/2024   Page: 15



     D.     The Definition of Unfinished Frame Contemplates
            Further “Manufacturing” by Gun Builders

     The fact that the Manufacturing Ban prohibits completing 80

percent frames into functional frames is plain from the definition of

“unfinished frame or receiver,” which states:

  “Unfinished frame or receiver” means any forging, casting,
  printing, extrusion, machined body, or similar article that
  has reached a stage in manufacture when it may readily be
  completed, assembled, or converted to be used as the frame or
  receiver of a functional firearm; or that is marketed or sold to
  the public to become or be used as the frame or receiver of a
  functional firearm once completed, assembled, or converted.

C.R.S. § 18-12-111.5(1)(l) (emphasis added).

     Recall ATF’s longstanding guidance regarding 80 percent

frames: “ATF has long held that items such as receiver blanks,

‘castings’ or ‘machined bodies’ in which the fire-control cavity

area is completely solid and un-machined have not reached the

‘stage of manufacture’ which would result in the classification of

a firearm according to the GCA.” ATF, Are “80%” or “Unfinished”

Receivers   Illegal?,     available   at   https://bit.ly/4bYbkWd      (last

reviewed September 21, 2024) (emphasis added).

     As the title of the ATF guidance implies, the point of the

guidance    is   to     assure   do-it-yourself     gun    builders    that


                                      10
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 16



manufacturing frames by completing 80 percent frames is not

illegal under federal law. And the point of the Manufacturing Ban

is to close the “loophole” in firearms regulations Colorado

lawmakers perceived6 resulted from the ATF’s guidance. There

cannot be the slightest doubt that the statutory terms “casting,”

“machined body,” and “stage of manufacture” harken back to the

identical terms used in the ATF guidance.7

     This conclusion is particularly relevant with respect to the

phrase “stage of manufacture.” The definition states that an

“unfinished frame” is one that has reached a particular “stage of

manufacture.” This makes sense only in the context of a continuing

manufacturing process. Like the ATF guidance, the Statute

contemplates a stage of manufacture of a frame in which it is not

yet functional and a further stage of manufacture that renders it


6 See statement of Rep. Boesenecker, Colorado House of
Representatives, Second Reading of SB 23-279, May 4, 2023 (time
1:42:40 to 1:44:08), available at
https://archive.org/details/colorado-house-2023-legislative-day-116
(referring to “gaps in the law”).
7   See statement of Rep. Armagost, Colorado House of
Representatives, Second Reading of SB 23-279, supra (bill’s
language refers to ATF regulations).



                                   11
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 17



functional. The manufacturing that occurs when a do-it-yourself

gun builder completes the unfinished frame into a functional frame

is the act that is prohibited by the Manufacturing Ban.

E.   The “Marketing” Provision of the Definition Applies to
     Kits With 80 Percent Frames

     The fact that the Manufacturing Ban is directed at 80 percent

frames found in kits purchased online is made even clearer by the

last clause of the definition of “unfinished frame or receiver” set

forth above. That clause defines an unfinished frame as one that is

marketed to the public to become a functional frame once

completed. The State’s expert, Brian DeLay, cites the following

marketing materials for online kits: “They [i.e., kits] are explicitly

designed for and marketed to amateurs. On its website, for instance,

80% Arms assures customers that its . . . jigs make it ‘ridiculously

easy for a non-machinist to finish their 80% lower in under one hour

with no drill press required.’” DeLay Dec. App. Vol I, 83 (emphasis

added).

     F.     The State’s Model Airplane Analogy Fails

     The State argues that a child “assembles” (as opposed to

manufactures) a model airplane from pieces that have already been


                                   12
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 18



manufactured by the manufacturer. Resp. 22. That is true. The

State then states: “assembling the parts in a firearm parts kit is not

manufacturing but creating those parts . . . is manufacturing.” Id.

(emphasis in the original). That is also true, but, ironically, this

example demonstrates why the State is wrong. The Manufacturing

Ban does not prohibit assembly of pieces into a firearm. It prohibits

making one of the pieces – i.e., the frame. And that is what Plaintiffs

want to do.

     Again, the whole purpose of the Manufacturing Ban was to

close the perceived regulatory loophole that allowed a piece of a

firearm (i.e., the frame) to be made free from government

regulation. Under the longstanding ATF guidance, a do-it-yourself

gun builder could start with an 80 percent frame – which was not

considered a frame under the Gun Control Act – and do the work

necessary to complete that 80 percent frame into a finished frame.

The do-it-yourself builder was not required to undergo a

background check.

     Going back to the State’s analogy, the toy company creates

(i.e., manufactures) the parts of the model airplane. A do-it-yourself



                                   13
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 19



gun builder creates one of the parts (i.e., the frame) of a firearm,

and Plaintiffs agree with the State that “creating [that part] is

manufacturing.”

     G.     The State’s       Legislative     History      Analysis     is
            Misguided

     The State quotes the testimony of District Attorney John

Kellner. Resp. 24. Mr. Kellner states that as far as he is concerned,

it is fine for “enthusiasts” to create their own firearms so long as

they are serialized. But that is not what Manufacturing Ban does.

That provision prohibits a person from making a firearm frame

period full stop. This is true whether or not the maker intends to

have the frame serialized. Thus, Mr. Kellner’s testimony reveals

that he does not understand the Statute.

     The State then refers to Representative Boesenecker’s

statement that the Statute “prohibits the unlicensed manufacture

of all firearms [by ensuring] that all DIY firearm builders undergo

a thorough background check and comply with all the federal

regulations applicable to the manufacture of firearms.” Resp. 25.

Yes, that is what the Manufacturing Ban does. But the State then

asserts that Plaintiffs’ argument is “circular” because they assume


                                   14
Appellate Case: 24-1209   Document: 47     Date Filed: 09/27/2024    Page: 20



the    “DIY    firearm    builders”    mentioned      by   Representative

Boesenecker refers to people assembling parts from kits. The State

is wrong. Plaintiffs’ argument does not assume “DIY firearm

builders” refers to people assembling parts from kits. Rather,

Plaintiffs’ argument assumes “DIY firearm builders” includes

people making frames from 80 frames. As discussed in detail,

Plaintiffs are correct about that.

       The State then sets forth a lengthy quotation from another

part   of     Representative   Boesenecker’s       statement.       Resp. 26.

Ironically, the second part of that quotation destroys the State’s

argument. In the first part of the quotation, Representative

Boesenecker states that hobbyists may continue to assemble guns

if they “acquir[e] . . . the frame or receiver – that would be serialized

prior to your beginning that process. . . . So, yes, if you are a

hobbyist that enjoys assembling AR-15s, you simply need to acquire

the proper serialized parts . . . to do that.” Resp. 26. In this

statement Representative Boesenecker is clearly referring to the

provisions of the Serialization Provisions that require frames to be




                                      15
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 21



imprinted with serial numbers. No one disputes that the Statute

allows assembling firearms from previously serialized frames.

      In the second part of his quotation, Representative

Boesenecker goes on to say: “What you won’t be able to do is

purchase a bulk pack of 80% finished receivers online, finish those

– with a drill press or a router with a drill bit and a hand drill . . .”

(emphasis added). And why won’t one be able to do that? Because,

as explained above, the Manufacturing Ban prohibits that.

Representative     Boesenecker      agrees     with    Plaintiffs.    The

Manufacturing Ban prohibits completing 80 percent frames into

finished frames.

IV.   Plaintiffs Are Not Arguing “Against Their Interests”

      The State wonders why Plaintiffs argue “against their

interests” that the Statute prohibits making frames from

unfinished 80 percent frames. Resp. 13. That is a fair question, and

the answer is that the district court’s interpretation of the Statute

is not merely incorrect. It is not even remotely plausible. Yes, it

would be nice if the district court were correct and Plaintiffs could

just ignore the Manufacturing Ban and go back to what they were



                                   16
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 22



doing. But Subsection 111.5(5) is a criminal statute, and the district

court’s erroneous construction of that provision is not binding on

the Colorado state courts. It would be cold comfort indeed if

Plaintiffs were to rely on the district court’s construction of the

Statute only to be convicted in a state court that interprets the law

as the Colorado General Assembly obviously intended it to be

interpreted.

V.   The State’s Amici Did Not Get the Memo

     Someone forgot to give the State’s amici the memo that they

are supposed to say that the Manufacturing Ban does not prohibit

making functional frames from unfinished frames. The amici write:

“In recent years, advances in firearms technology have contributed

to the rapid proliferation of ‘ghost guns’: unserialized and

untraceable firearms that can be built at home, including from

easily assembled weapon parts kits.” State’s Brief, 1. Parts kits are

acquired for the “purpose of building a firearm.” Id. at 7. Parts kits

require “only basic tools and instructions to build a functional

firearm.” Id. at 15.




                                   17
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 23



VI.   Plaintiffs’ Claims Are Ripe

      The district court held that Plaintiffs’ claims are not ripe

because the ATF’s 2022 Rule8 requires companies like Polymer80

to serialize the unfinished frames they sell. The district court

assumed that since Plaintiffs have no ability to acquire unserialized

unfinished frames from which to make frames, they are not harmed

by the Manufacturing Ban. This is wrong factually because, as set

forth in the Opening Brief, Plaintiffs do have the ability to acquire

unserialized unfinished frames from sources other than Polymer80

and companies like it. Op.Br. 37-38. It is wrong legally for two

reasons: (1) Even if Plaintiffs purchased a serialized frame from

Polymer80, the Manufacturing Ban still prohibits them from

making a finished frame from it; and (2) Plaintiffs are not required

to establish “complete redressability” to proceed with their claims.

      The State responds by conflating PMFs with unfinished

frames. Resp. 31. The State says that even if there are individuals


8The 2022 Rule was ruled invalid by the Fifth Circuit in
VanDerStok v. Garland, 86 F.4th 179, 185 (5th Cir. 2023), cert.
granted, 144 S. Ct. 1390 (2024). The Supreme Court will review
the Fifth Circuit’s opinion in its term that begins next month.



                                   18
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 24



with unserialized PMFs, those PMFs cannot be transferred and

therefore Plaintiffs cannot acquire them. But Plaintiffs do not want

to acquire PMFs in order to make PMFs. That makes no sense. As

explained in the Opening Brief (Op.Br. 37-40), Plaintiffs could

acquire unfinished frames from non-FFLs9 and complete them.

Therefore, the State’s argument is a non sequitur.

     The State does not attempt to address Plaintiffs’ “complete

redressability” argument and thus appears to concede the matter.

VII. The State “Over-Describes” the Asserted
     Constitutional Wrong

     The State says the plain text of the Second Amendment is not

implicated by the Serialization Provisions, because the text does not

expressly state a right to keep and bear non-serialized arms.

Resp. 35-36. As discussed in the Opening Brief, the State is

attempting to evade Bruen’s first step by “over-describing” the

constitutional wrong. Op. Br. 47 (citing Rhode v. Bonta, 2024 WL

374901, at *5 (S.D. Cal. Jan. 30, 2024)). The Serialization

Provisions ban the possession, sale, purchase, transfer, and


9The 2022 Rule does not prohibit non-FFLs from transferring
unfinished frames.


                                   19
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 25



transport of certain firearms and firearm parts. Thus, Plaintiffs’

conduct obviously implicates the plain text, because Plaintiffs can

neither keep nor bear the banned firearms and parts. Rigby v.

Jennings, 630 F. Supp. 3d 602 (D. Del. 2022).

     The State ignores the plain text implications of the

Manufacturing Ban and appears to concede that that provision does

implicate the plain text.10 But the text is also obviously implicated

by the Manufacturing Ban because it bans making an item (i.e., a

frame) necessary for firearms to operate. Without frames, the right

to acquire handguns would be meaningless. The Ninth Circuit

made this concept clear in Jackson v. City & Cnty. of San Francisco,

746 F.3d 953, 967 (9th Cir. 2014), when it stated, “without bullets,

the right to bear arms would be meaningless.” The word “bullet”

appears nowhere in the Second Amendment, but the right to

acquire bullets is protected. The same is true regarding the word

“frame.”


 Perhaps the State deemed a plain text analysis of the
10

Manufacturing Ban unnecessary because it assumed it would
prevail on its standing defense to Plaintiffs’ challenge to
Subsection 111.5(5). If so, as set forth above, that assumption was
unwarranted.


                                   20
Appellate Case: 24-1209   Document: 47        Date Filed: 09/27/2024   Page: 26



     Whether the State’s ban on the possession and transfer of

certain firearms and essential firearm parts is constitutional is a

separate question that must be resolved under Bruen’s second step.

Similarly, whether it is constitutional for the State to prohibit a

private individual from making frames unless he goes through the

same arduous, expensive, and time-consuming licensing process as

a major firearms company is also a separate question that must be

resolved under Bruen’s second step.

VIII. The State’s Attempts               to      Distinguish       Plaintiffs’
      Authorities Fails

     The State argues that Rigby v. Jennings is distinguishable

because the Delaware statute enjoined in Rigby did not provide a

way for makers of PMFs to obtain serial numbers and the

Serialization Provisions do. Resp. 39. This is a distinction that

makes no difference. The Serialization Provisions ban the

possession and transfer of certain firearms and firearm parts. The

issue is whether that ban is constitutional under Bruen step two. It

makes no difference with respect to that analysis that the State has

provided a way to come out from under the ban by complying with

the Statute’s requirements.


                                   21
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 27



     The State attempts to distinguish United States v. Alston,

2023 WL 4758734 (E.D.N.C., Jul. 28., 2023), on the ground that the

prohibitions of the Statute are not “logically connected” to the

receipt of firearms. Resp. 40. But that is not true. The Statute

prohibits Plaintiffs from receiving certain firearms, specifically

those that are self-manufactured.

     The State writes that in Ezell v. City of Chicago, 651 F.3d 684

(7th Cir. 2011), the court did not state that there is an implied right

to acquire firearms. Resp. 41. This argument is puzzling, because

the court said that very thing: “The right to possess firearms for

protection implies a corresponding right to acquire [them] . . .” Id.

at 704.

     Finally, the State attempts to distinguish Teixeira v. Cnty. of

Alameda, 873 F.3d 670 (9th Cir. 2017). Resp. 41. The State’s

argument here is also puzzling, because it acknowledges that in

Teixeira the Ninth Circuit held the very thing for which Plaintiffs

cited the case – i.e., that the Second Amendment’s text implies a

right to acquire firearms. Resp. 42. Indeed, the Ninth Circuit

recently reaffirmed that holding. See B & L Prods., Inc. v. Newsom,



                                   22
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 28



104 F.4th 108, 118 (9th Cir. 2024) (citing Teixeira for the

proposition that the Second Amendment protects the right to

acquire firearms as an ancillary right necessary to the realization

of the right to keep and bear arms).

IX.   The Statute is Not Presumptively Lawful

      A.    The Statute is Not Exempt from Constitutional
            Review

      The district court held that the Statute is a constitutional

“condition on the commercial sale of firearms.” Sp. App. 1, 23. The

State’s attempt to defend this holding is not successful. First, the

State misunderstands the Court’s holding in Rahimi concerning

“preemptively lawful” regulations. Resp. 43. The State’s position

appears to be that Rahimi stated that if a regulation falls within

the list of presumptively lawful regulations set forth in Heller, it is

per se constitutional and a Bruen analysis is not necessary. The

State is wrong.11

      This Court adopted the per se rule advocated by the State in

United States v. McCane, 573 F.3d 1037 (10th Cir. 2009)


 For one thing, Rahimi did not concern any of the Heller
11

categories, and anything it said regarding the issue is dicta.


                                   23
Appellate Case: 24-1209   Document: 47     Date Filed: 09/27/2024     Page: 29



(concerning felons in possession), and reiterated the per se rule in

the post-Bruen case of Vincent v. Garland, 80 F.4th 1197, 1200

(10th Cir. 2023). But two weeks after Rahimi was decided, the

Supreme Court vacated Vincent and remanded for reconsideration

in light of Rahimi. Vincent v. Garland, 144 S. Ct. 2708 (2024). While

the Supreme Court’s order did not address Vincent’s merits, it did

cast doubt on this Court’s resolution of this issue. Indeed, the order

would make no sense if Vincent were correct. Rather, as the court

in United States v. Morgan, 2024 WL 3890184, at *4 (D. Kan. Aug.

21, 2024), wrote, the order vacating Vincent indicates that the

Supreme Court means that the constitutionality of all laws

regulating firearms must be evaluated under the Bruen framework.

See also United States v. Smith, 2024 WL 4138621, at *5 (N.D.

Okla. Sept. 10, 2024) (same).

     In Heller, the Court assumed that certain “longstanding” laws

would    survive    constitutional       scrutiny   because         they   are

longstanding and therefore likely to be consistent with the nation’s

historical tradition. That assumption did not create an irrebuttable

presumption that every statute that can somehow be characterized



                                   24
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 30



as a regulation of commercial sales is exempt from constitutional

scrutiny, and neither Bruen nor Rahimi said otherwise.

     B.     Plaintiffs Are Not Engaged in Commercial Sales

     More to the point, the district court’s characterization of

Plaintiffs’ proposed conduct as involving a “commercial sale” upon

which the State may impose conditions never made sense in the

first place. Plaintiffs take no position regarding whether requiring

commercial sellers of firearms and frames to serialize their

products is a valid regulation of commercial sales. But as applied to

Plaintiffs, the Serialization Provisions are certainly not a valid

regulation of commercial sales for the simple reason that Plaintiffs

never engaged in commercial sales. Plaintiffs made (and desire to

continue making) privately made firearms for their personal use.

Thus, while the Serialization Provisions might be considered the

regulation of commercial sales in some contexts, as applied to

Plaintiffs’ proposed conduct they are not.

     This logic applies with even more force to the Manufacturing

Ban. That provision bans making firearm frames. It says nothing

about selling firearm frames (or purchasing or otherwise



                                   25
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 31



transferring them). There is no plausible reading of Subsection

111.5(5) pursuant to which it can be characterized as imposing a

condition on the commercial sale of firearms.

X.   The State’s Historical Analysis is Meritless

     A.     Introduction

     The State’s brief is 65 pages long. It devotes only six of those

pages to attempting to demonstrate the existence of analogous laws

from the Founding era in order to meet its burden under Bruen step

two. See Resp. 53-56; 64-65.12 This is not surprising. As

demonstrated in the Opening Brief, there are zero laws from the

Founding era (or even from much later) that are remotely

analogous to the Statute. With such a paucity of material to work

with, it is no wonder that the State did its best not to draw further

attention to its inability to meet its burden under Bruen step two.

In the sections below, Plaintiffs will address separately the State’s

historical analysis with respect to the Manufacturing Ban and the

Serialization Provisions.


12In the State’s defense, six pages is more than zero pages, which
is what the district court devoted to the issue. See Sp. App. 1, 24,
n. 21 (declining to engage in a Bruen step two analysis).


                                   26
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 32



     B.     The Existence (Not the Extent) of Private Gun
            Making in the Founding Era is the Relevant
            Inquiry

     The State’s expert, Professor DeLay admits that in the

Founding era, individuals made privately made firearms. Resp. 47-

48. But in his opinion, there was no Founding-era “tradition” of

making firearms identical to the way Plaintiffs desire to make

firearms. Resp. 48. This misses the point. The issue under Bruen

step two is whether private gun making occurred in the Founding

era. The extent of the practice and whether it differed somewhat

from the modern practice is not relevant to the inquiry. Of course

Founding-era practices were different from modern practices. But

just as the Fourth Amendment applies to modern searches, the

Second Amendment applies to modern firearm practices. Bruen,

597 U.S. at 28 (citation omitted).

     Thus, the issue is not whether there was a widespread

tradition of private gun making in the Founding era using methods

identical to the methods Plaintiffs desire to use. The issue is

whether the Founders knew that private gun making occurred at




                                   27
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 33



all and, if they did, whether they enacted regulations like the

Statute to stop it.

      Bruen explained this concept. In Heller, the city perceived a

problem – urban firearm violence – and it passed a ban on

handguns to address that problem. Id., 597 U.S. at 27. But firearm

violence in cities occurred in the Founding era too, and the

Founders could have passed a similar ban. Id. But they didn’t, and

therefore D.C.’s ban was not consistent with Founding-era history

and tradition. Id. The same is true here. In the Founding era the

Founders knew about firearm violence, especially in cities. Id. Like

D.C.’s handgun ban, they could have passed a law banning

individuals from making firearms to address that problem, but they

did not. This is not disputed. Both sides agree that the Founders

knew that individuals made firearms and they did not regulate the

practice, much less ban it. See discussion of Professor DeLay’s

testimony on pages 53 to 54 of the Opening Brief. Thus, under a

plain reading of Heller, the Statute is unconstitutional.

      Professor DeLay disagrees with Plaintiffs’ expert Joseph

Greenlee about the number of private gun makers in the Founding



                                   28
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 34



era. Resp. 51. And the experts disagree about the impact of

privately made firearms on winning the Revolution. Id. It is not

necessary to resolve this difference of expert opinion. Again, the

relevant inquiry is whether the Founders knew about private gun

making and, if so, whether they banned or regulated it. The precise

extent of private gun making in the Founding era is not relevant so

long as the Founders knew about it. Professor DeLay admits that

they did. See Op. Br., 53 to 54.

     C.     The State Points to Zero Founding Era Analogues

     The State’s survey of Founding-era laws falls far short of

carrying its burden under Bruen step two. First, the State points to

a grand total of two laws that imposed stamping requirements on

firearms. Resp. 64. Even if these laws were analogous to the Statute

(they are not), Bruen held that three laws are insufficient to

establish a widespread tradition of firearm regulation. 597 U.S. at

29. Two laws are certainly insufficient.

     Second, the “how” and “why” of the laws identified by the

State are very different from the “how” and “why” of the Colorado




                                   29
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 35



Statute.13 The laws are not analogous to the Manufacturing Ban.

The “why” of the historical laws was to ensure that new gun barrels

were safe. Thus, the historical laws were product safety

regulations. The “why” of the Manufacturing Ban is to ban making

frames in the first place, whether they are safe or not, unless a

person obtains a background check by obtaining a federal license.

The Statute has nothing to do with ensuring that the frames are

safe. In summary, the modern law was justified as a background

check law. The historical law was a product safety law. These are

not close to the same thing. As to the “how” of the laws, the

historical laws imposed a small fine for each unsafe barrel. The

Statute bans the production of frames altogether. These are not

analogous methods of regulation.

     The stamping requirements in the historical laws have even

less relation to the Serialization Provisions of the Statute. The

“how” of the historical statutes required the “prover” to stamp his

initials on the proved barrels. These stamps were all obviously


13Bruen held that the “how” and “why” of laws are the important
factors in determining whether a historical law is analogous to a
modern regulation in relevant ways. Id., 597 U.S. at 46.


                                   30
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 36



identical for each prover. The “how” of the Colorado statute is to

require each frame to be stamped with a unique serial number.

Requiring identical stamps is not analogous to requiring unique

identification markings because the purposes of the laws (the

“why”) were radically different. The “why” of the historical laws was

to show the barrels had passed a product safety test. The “why” of

the Colorado Statute is to identify the gun to aid law enforcement

investigations. Those two purposes have nothing to do with each

other.

     The State’s gunpowder barrel regulations (Resp. 54, 64) are

completely irrelevant to the historical inquiry. These were fire

safety regulations and not even “remotely” analogous to firearm

regulations. Heller, 554 U.S. at 632.

     The State’s trap guns laws are also irrelevant. Resp. 55. Those

laws prohibited using a gun to make a trap. They did not prohibit

(or even regulate) manufacturing guns in the first place. In other

words, they were a regulation of the use of already-manufactured

guns. The State was incorrect when it said such laws amounted to




                                   31
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 37



“the outright prohibition of certain types of self-produced firearms.”

Resp. 56. They did no such thing.

      In conclusion, the effect of the State’s historical evidence is

the opposite of what it intended. The paucity of that evidence

demonstrates that there was no Founding-era regulatory tradition

similar to SB23-279. Even if the number of historical regulations

were enough to demonstrate a regulatory tradition (it is not), the

motives behind the historical statutes (their “why”) and the

methods of regulation they employed (their “how”) are not remotely

analogous to those of the Colorado Statute. Thus, the State’s own

historical evidence demonstrates that SB23-279 is not consistent

with the nation’s historical tradition of firearms regulation.

      This is true even if one concedes that a “nuanced” approach to

the historical inquiry is appropriate. (Plaintiffs do not concede this).

Bruen’s discussion of a more nuanced approach to the historical

analysis does not allow the State to pass a law that has no

grounding in the historical tradition whatsoever – whether nuanced

or otherwise. The State is required to identify how the “challenged

regulation is consistent with the principles that underpin our



                                   32
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 38



regulatory tradition.” Rahimi, 144 S. Ct. at 1898. The State did not

come remotely close to doing this.

XI.   The State Has No Response to Plaintiffs’ Abusive
      Licensing Argument

      Federally licensed firearms manufacturers are exempt from

the Manufacturing Ban. In this respect, the Manufacturing Ban

operates as a sort of backhanded licensing provision in that it forces

individuals to go through the federal licensing process in order to

make firearm frames. It is not a background check provision as

argued by SB23-279’s sponsors except to the extent that obtaining

a background check is one of the many steps necessary to obtain the

license.

      In their Opening Brief, Plaintiffs argued that if the

Manufacturing Ban is analyzed as a permitting scheme, it

nevertheless fails. See Op. Br. 64-68. It fails because the licensing

requirements, as least as they are applied to individuals, are the

sort of abusive permitting scheme identified in Bruen footnote 9.

See 597 U.S. at 39, n. 9. The permitting scheme is abusive as

applied to individuals (as opposed to large companies) because the

requirements to get and maintain a full blown federal firearms


                                   33
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 39



manufacturing license are onerous, time-consuming, expensive,

and wildly disproportionate to the State’s stated goal of simply

requiring do-it-yourself firearms builders to get a background

check. Such background checks are normally free and take only

minutes. See discussion at Op.Br. 65. The State did not respond to

Plaintiffs’ characterization of the Manufacturing Ban as an abusive

permitting scheme and apparently concedes Plaintiffs’ argument.

XII. The Remaining Factors Favor Plaintiffs

     The State says Plaintiffs have suffered no irreparable injury

because they can continue to make PMFs if they simply comply with

SB23-279. Resp. 57-58. This argument assumes that the Statute is

constitutional. The argument crumbles the moment Plaintiffs

establish a likelihood of success on the merits (which they have). It

hardly makes sense to argue that a party is not harmed by an

unconstitutional statute when all he has to do is comply with it. The

State’s other arguments regarding the other factors are addressed

in the Opening Brief and Plaintiffs will not repeat those arguments

here. See Op.Br. 70-71.




                                   34
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 40



XIII. Conclusion

     For the foregoing reasons, Plaintiffs respectfully renew their

request that the Court reverse the district court’s decision and

remand for entry of preliminary injunctive relief.

Respectfully submitted,


/s/ Barry K. Arrington
______________________________________
Barry K. Arrington

Privacy Redaction Certification:             No privacy redactions were
required.

Paper Copy Certification: The paper copies of this brief to be
submitted to the clerk of the Court are exact copies of the version
submitted electronically.

Virus Scan Certification: The digital form of this document
submitted to the Court was scanned for viruses using Webroot
SecureAnywhere, and according to the program the document is virus-
free.




                                   35
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 41



                   CERTIFICATE OF SERVICE

      The undersigned certifies that on September 27, 2024, he
served a true and correct copy of the foregoing document by e-filing
it with the CM/ECF system, which will serve the document on
counsel of record, including:

Peter G. Baumann
Joseph Michaels
Shannon Wells Stevenson
Matthew John Worthington
Office of the Colorado Attorney General
Ralph L. Carr Judicial Center
1300 Broadway, 10th Floor
Denver, Colorado 80203

/s/ Barry K. Arrington
____________________________
Barry K. Arrington




                                   36
Appellate Case: 24-1209   Document: 47   Date Filed: 09/27/2024   Page: 42



                WORD COUNT AND TYPEFACE

1. This brief complies with the type-volume limitation of
Fed.R.App.P. 32(a)(7) (excluding the items listed under
Fed.R.App.P.32(f)) because this brief contains 6,363 words.

2. This brief complies with the typeface requirements of
Fed.R.App.P. 32(a)(5) and the type style requirements of Fed.R.
App.P.32(a)(6) because this brief has been prepared in a
proportionally spaced typeface (fourteen-point Century Schoolbook)
using Microsoft Word.

Date: September 27, 2024

/s/ Barry K. Arrington
____________________________
Barry K. Arrington




                                   37
